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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
CHAREESE MCINTOSH,                   )
                        Plaintiff    )
                                     )
vs.                                  )   CASE NO.
                                     )
T-MOBILE USA INC.,                  )
                        Defendant    )
____________________________________)

                  COMPLAINT AND DEMAND FOR TRIAL BY JURY

                                      INTRODUCTION

1.   This is a complaint for violation of Title VII of the Civil Rights Act of 1964, as amended,

     and violation of Mass. Gen. Laws ch. 151B, based on the defendant’s discrimination

     against the plaintiff in her employment because of her race, sex and opposition to

     discrimination.

                                       JURISDICTION

2.   This civil action arises under the laws of the United States and concerns federal questions

     and is therefore under the jurisdiction of this court as provided for in 28 U.S.C. § 1331.

     This Court also has jurisdiction over the subject matter of this civil action pursuant to

     Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-16. The case pendant

     jurisdiction over Plaintiff’s state law claims.

                                            VENUE

3.   Venue is proper in this judicial district under 42 U.S.C. Section 2000e-5(f)(3) and 5

     U.S.C. § 7703(b)(2); as plaintiff was employed by defendant in Boston in the Eastern

     District of Massachusetts, she was subjected to discrimination and wrongful termination
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     by the defendant in this judicial district, and decisions adverse to Plaintiff’s employment

     that are the subject of this civil action were made in this judicial district.

                                            PARTIES

4.   Plaintiff, Chareese McIntosh (“McIntosh”), is presently and was at all times relevant to

     this complaint a resident of Boston, Suffolk County, Massachusetts.

5.   Defendant, T-Mobile USA Inc. (“T-Mobile”) is a corporation headquartered at 12920 SE

     38th Street, Bellevue, WA 98006.

                                  STATEMENT OF FACTS

6.   McIntosh, a black African-American female, began her employment with T-Mobile as a

     Retail Associate Manager (“RAM”), on or about August 15, 2013.

7.   In mid January, 2017, Matt Pringle (“Pringle”) began working at the Mattapan store with

     McIntosh as a Retail Store Manager (“RSM”). As an RSM, Pringle had supervisory

     authority over McIntosh.

8.   From the beginning of his employment in Mattapan, Pringle made a number of racially

     discriminatory statements and engaged in racially discriminatory conduct that had the

     purpose and effect of creating a racially discriminatory, hostile and offensive work

     environment for McIntosh and other T-Mobile employees and customers.

9.   In the course of his employment, Pringle made numerous discriminatory statements.

     Pringle stated that, because he is a white man in a black neighborhood, he would need

     employees to escort him to his car. He stated that he did not want to work at the

     Mattapan location and he did not know why a White manager was assigned to the

     location. (Mattapan is a racially diverse neighborhood). Pringle stated that he had never

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      worked with city people. It was something he needed to get used to. Pringle stated that

      his job was more difficult because black people have poor credit. Pringle stated that

      because Donald Trump was now President, he should not have to help customers that do

      not speak English. Pringle often watched Trump videos at work. Pringle stated he could

      not tell customers apart from one another because they are all black. Pringle stated that

      he should not have to deal with employees renewing their work visas. Pringle told a

      Retail Sales Associate (“RSA”) to follow a black teenage customer around because he

      had a backback. He did not ask RSAs to follow around white teenage customers who had

      backpacks. Pringles said that T-Mobile should only hire US citizens. When an employee

      needed to renew his work visa, and Pringle made a big deal about it. Pringle said he did

      not want to stay at the Mattapan store for long because he wanted to return to his previous

      store where white customers had good credit. Pringle told his employees not to expect

      him to be at work often since he is salaried and because his black assistant managers can

      handle black customers better than him. On one occasion, a customer who was upset

      asked to speak with Pringle. Pringle asked McIntosh if the customer was black.

      McIntosh responded, yes. Pringle then took off his uniform and fled out the fire exit,

      telling McIntosh that he didn’t want to deal with the customer. Pringle abandoned the

      store and left it to McIntosh and another black employee to deal with the customer.

10.   T-Mobile treated the Mattapan store and its employees, including McIntosh, as second

      class because the employees were predominantly black or other minorities and because

      the store was located in an area that predominantly served black and other minority

      customers. T-Mobile has a culture of accepting and tolerating unsafe, illegal and

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      discriminatory activity in the workplace generally and in the workplace in the Mattapan

      store in particular. T-Mobile has a custom, policy and practice of retaliating against

      employees who complain of unlawful employment discrimination. This policy was

      communicated to McIntosh in a threatening and intimidating manner by a store manager

      of T-Mobile causing her to delay in making her complaints.

11.   T-Mobile maintains an “anonymous Integrity Line” where employees can make

      complaints. On or about January 20, 2017, T-Mobile received a detailed complaint

      through the Integrity Line from an employee other than McIntosh providing in extensive

      detail a description of racial discrimination and a racially hostile environment created by

      Pringle at the Mattapan store. The complaint described substantially similar and in some

      instances identical discrimination to that which McIntosh experienced in the workplace in

      her interactions with Pringle. The complaint provide clear notice to T-Mobile that racial

      discrimination and a racially hostile work environment existed in the Mattapan

      workplace.

12.   In addition to race discrimination involving Pringle, on January 28, 2017, Ms. McIntosh

      was kicked, shouted at, threatened and intimidated by an employee, Chris Akunna

      (“Akunna”), who was her subordinate. McIntosh had a reasonable fear for her safety due

      to Akunna’s aggressive and intimidating behavior and due to the fact that he is larger than

      McIntosh, stronger than McIntosh and male. McIntosh sought help and protection from

      Simon Patel, a T-Mobile District Manager, Pringle and from a human resources

      representative related to Akunna aggressive and intimidating behavior. Akunna’s actions

      amounted to discrimination against McIntosh on the basis of her sex. McIntosh

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      complained to T-Mobile about Akunna and she otherwise opposed his acts of

      discrimination. T-Mobile took little action against Akunna and criticized McIntosh

      regarding the incident because of her gender and race.

13.   T-Mobile received complaints that Pringle was engaging in race discrimination from

      McIntosh and from at least one other employee in late January and early February of

      2017. McIntosh specifically complained about “blatant racial discrimination and sexism”

      and retaliation in an email on January 29, 2017 to T-Mobile’s human resources

      representative Jennifer Boutin (“Boutin”). In her email to Boutin, McIntosh also

      complained of a “very hostile work environment.” In at least one conversation with

      Boutin at around this time, McIntosh specifically complained about race discrimination

      on the part of Pringle that is described in this complaint. McIntosh opposed illegal

      discriminatory practices in the workplace at T-Mobile in good faith and in a reasonable

      manner.

14.   In response to McIntosh’s complaint and the Integrity Line complaint, Boutin began an

      investigation. Boutin initially told McIntosh that she had interviewed other employees

      who corroborated her complaints and that she had received a similar complaint through

      the Integrity Line. The investigation soon turned into a witch hunt to determine who the

      employee was that complained to the Integrity Line. The investigation was a sham aimed

      at covering up the discrimination and limiting T-Mobile’s liability. At the conclusion of

      the investigation, Boutin falsely assured McIntosh that Akunna would be moved to

      another store and that she would have no further difficulties with Pringle.




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15.   Rather than remove Pringle from the workplace, T-Mobile proposed transferring

      McIntosh to a location more remote from her home where she would have earned less

      money. T-Mobile has a custom, policy and practice of transferring employees for

      complaining about discrimination and this custom, policy and practice was

      communicated to McIntosh by a store manager.

16.   Pringle and other agents and employees of T-Mobile retaliated against McIntosh for

      complaining to T-Mobile about racial discrimination, sex discrimination and retaliation.

17.   In retaliation for McIntosh’s complaints, Pringle harassed and intimidated McIntosh by

      aggressively and inappropriately interrogating her concerning her complaints to human

      resources, advising her that she should not have complained to human resources, by

      yelling at her, by telling her that he was not going anywhere, by telling her that she just

      had to deal with the discrimination. Pringle stop answering McIntosh’s work related

      questions and constantly subjected her to criticism. Pringle’s treatement of McIntosh in

      comparison with another similarly situated RAM, Dominique Rouseau, was far more

      critical, unhelpful and severe. After the complaint, Pringle changed McIntosh’s schedule

      to give her less desirable shifts. Although McIntosh made it clear to Pringle that she did

      not feel safe working with Akunna, and McIntosh had been assured by Pringle and Boutin

      that she would not have to work with Akunna until he was moved, Pringle altered

      McIntosh’s schedule so that she would have to work with Akunna on most of her shifts.

      Pringle went so far as to call Akunna into work on his days off so that he would work

      with McIntosh. Pringle falsely told McIntosh that the system made the schedule and there

      was nothing he could do about it. In fact, Pringle had the capacity to manually over-ride

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      any automated scheduling and had done so repeatedly. Pringle wilfully and intentionally

      scheduled Akunna to work at the same time as McIntosh in order to threaten and

      intimidate McIntosh in retaliation for her having complained and opposed unlawful

      discrimination. After McIntosh complained of discrimination, Pringle began to criticize

      her for taking time off during the time period she was instructed to stay out of work while

      Boutin was conducting an investigation. Pringle unreasonably criticized McIntosh for

      requesting time off a day off to have surgery. Even after advising Pringle that she needed

      the day off for surgery and could provide medical documentation, Pringle advised

      McIntosh that she would need to work that day and that she needed to figure it out.

      Although McIntosh had accrued sufficient hours of personal time off to qualify for the

      day off, and she gave sufficient notice of her medical needs, Pringle unreasonably

      declined to give her time off in retaliation for her complaints and opposition to

      discrimination.

18.   Pringle and T-Mobile retaliate against employees who make complaints. Pringle stated

      that Dominique Roseau would never be promoted because she had filed complaints in the

      past. A prior RSM had also articulated his retaliatory practices against employees such

      that McIntosh felt intimidated not to complain.

19.   The discriminatory and retaliatory acts and practices specified in this complaint are

      examples of discrimination experienced by McIntosh in the T-Mobile workplace. There

      are other discriminatory and retaliatory acts and practices that negatively impacted

      McIntosh. This complaint is not an exhaustive list of every retaliatory and discriminatory

      act or practice impacting McIntosh.

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20.   The retaliation engaged in by Pringle and by T-Mobile’s other agents and employees also

      amounted to discrimination against McIntosh on the basis of her race and sex. The

      retaliation was motivated in part by hostility to McIntosh because of her race and sex.

21.   The discrimination and retaliation experienced by McIntosh caused severe mental

      distress, anxiety, fear, upset, sadness, embarrassment, humiliation, oppression and despair

      to the extent that it interfered with her psychological and mental well being and made

      working for T-Mobile a threat to her physical and mental health.

22.   The retaliation and discrimination substantially interfered with McIntosh’s ability to

      perform her job, hampered her in performing her job, caused substantial and material

      alteration of her work environment and made the workplace utterly unbearable.

23.   McIntosh’s work environment at T-Mobile was pervaded with words and conduct of a

      racial nature that had the purpose and effect of creating a racially hostile work

      environment.

24.   McIntosh’s work environment at T-Mobile was pervaded with words and conduct of a

      retaliatory nature that had the purpose and effect of creating a hostile work environment

      because or McIntosh’s opposition to unlawful discrimination.

25.   McIntosh filed a timely charge of discrimination concerning the illegal discriminatory and

      retaliatory acts and practices described in this complaint with the Equal Employment

      Opportunity Commission on or about March 17, 2017. McIntosh also filed timely

      complaints with the Massachusetts Commission Against Discrimination. The

      discrimination and retaliation that McIntosh experience was part of ongoing, continuing

      and systematic discrimination involving a series of acts. The continuing acts doctrine,

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      equitable estoppel and equitable tolling are applicable to the complaints filed by

      McIntosh. McIntosh has properly exhausted her administrative remedies and has timely

      filed this complaint in court as authorized by state and federal law.

26.   After McIntosh filed filed her EEOC complaint, she went on medical leave as permitted

      by the Family Medical Leave Act. In retaliation for opposing discrimination under state

      and federal law, she was terminated by T-Mobile in May of 2017. Without any notice, T-

      Mobile rescinded her medical benefits. Before terminating her medical benefits,

      McIntosh did not receive any notice by mail that she could continue her health insurance

      coverage as required by the COBRA law. The termination of her medical benefits

      interfered with my ability to access care that she was receiving at the time.

27.   After contacting T-Mobile/Broadspire (a benefits manager), and alerting them that her

      termination was illegal under the Family Medical Leave Act, McIntosh was re-instated to

      her employment and her benefits were restored.

28.   On or about June 27, 2017, T-Mobile filed a position statement with the EEOC

      responding to McIntosh’s charge of discrimination. T-Mobile made false claims against

      McIntosh in the position statement. The position statement was riddled with errors and

      false or misleading statements. It also contained material omissions that were misleading.

      The reasons given for T-Mobile’s actions with regard to McIntosh were false,

      inconsistent, implausible, unworthy of credence and mere pretexts for discrimination and

      retaliation.

29.   Due to ongoing discrimination and retaliation and the failure of T-Mobile to remedy the

      hostile & discriminatory workplace, McIntosh could not safely return to the workplace

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      without endangering her safety and harming her health. T-Mobile subjected McIntosh to

      harassment and retaliation that was so severe that no reasonable person could endure. T-

      Mobile constructively discharged McIntosh because of her race and in retaliation for her

      opposition to illegal discrimination in the workplace. McIntosh could not return to work

      after going out on leave.

30.   T-Mobile, by its agents and employees, coerced, threatened and interfered with the

      plaintiff in the enjoyment of rights protected by G.L. ch. 151B and Title VII.

31.   T-Mobile systematically discriminates against African-American and black employees

      and it so discriminated against McIntosh.

32.   T-Mobile subjected McIntosh to more exacting scrutiny, negative evaluations, criticism,

      interruptions, verbal abuse, scheduling abuse, harassment, coercion, intimidation and

      other unequal treatment because of her race and because of her complaints and opposition

      to unlawful employment discrimination.

33.   T-Mobile, it agents and employees, including Pringle, Akunna and Patel have wilfully

      and maliciously discriminated against McIntosh and have egregiously and outrageously

      violated her rights to be free from discrimination and retalation under both state and

      federal law. T-Mobile, its agents and employees have acted with deliberate indifference

      and reckless disregard to the serious harm and injury done to McIntosh and to the severe

      violation of her rights that she experienced at T-Mobile. T-Mobile tolerated, encouraged,

      ratified and acquiesced in the discriminatory and retaliatory actions of Pringle, Akunna,

      Boutin and Patel.




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34.   McIntosh has lost substantial income, has lost employment benefits, has back pay losses,

      front pay losses, lost earning capacity, other monetary losses, personal losses and harm to

      her reputation as a direct and proximate result of retaliation and discrimination by T-

      Mobile, its agents and employees.

                                           Count One

                    (Racial Discrimination in Violation of Title VII of the

               Civil Rights Act of 1964, 42 USC 2000e. et seq. and ch. 151B )

35.   The foregoing paragraphs are re-alleged and incorporated by reference herein.

36.   T-Mobile’s conduct as alleged at length herein constitutes discrimination based on

      race in violation of Title VII. The stated reasons for T-Mobile’s conduct were not the true

      reasons, but instead were pretexts to hide the T-Mobile’s discriminatory animus.

                                           Count Two

                       (Retaliation for Engaging in Protected Activities)

37.   The foregoing paragraphs are re-alleged and incorporated by reference herein.

38.   T-Mobile’s conduct as alleged above constitutes retaliation against the McIntosh

      because she opposed discrimination and engaged in activities protected by Title VII and

      Mass. Gen. Laws ch. 151B. The stated reasons for T-Mobile’s conduct were not the true

      reasons, but instead were pretexts to hide the T-Mobile’s retaliatory animus.

      WHEREFORE, plaintiff respectfully requests:

      A.     A trial by jury on all matters so triable;

      B.     judgment against defendant for compensatory and punitive damages;




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      C.    interest, costs and a reasonable attorney's fees under 42 U.S.C. § 1988, G.L. ch.

            151B and other applicable laws;

      D.    such other relief as is just, equitable or proper.

                                    Respectfully submitted,
                                    Chareese McIntosh,
                                    by her attorney,



DATED: January 19, 2018              /s/ J. Whitfield Larrabee
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